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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

Francis Pierre                              )
                                            )
                 Plaintiff,                 )
                                            )
       v.                                   )      Case No.: 1:16-cv-00683
                                            )
                                            )
                                            )
Winn Managed Properties, LLC, et al.        )
                                            )
                                            )
                 Defendants.                )

                                          ERRATA

       The undersigned counsel respectfully corrects the representation appearing in his Motion

to Dismiss [ECF No. 8]. Specifically, the undersigned counsel is representing the Defendants

Winn Managed Properties, LLC and Southern Hills Limited Partnership and requests that the case

be dismissed with respect to both Defendants.

                                            Respectfully submitted,

                                            COLE, GOODSON & ASSOCIATES, LLC


                                                   /s/ Timothy P. Cole
                                            Timothy P. Cole, #464644
                                            4350 East West Highway, Suite 1150
                                            Bethesda, Maryland 20814
                                            (240) 744-7220
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                                            LLC and Southern Hills L.P.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of December, 2016, I mailed a copy of the
foregoing Answer via First Class Mail, postage pre-paid to:
Francis Pierre
4201 4th St. SE #5
Washington, DC 20032

Tammy A. Holloway, Esquire
Special Assistant U.S. Attorney Civil Division
555 4th Street, N.W.
Washington, D.C. 20530


                                                          /s/ Timothy P. Cole
                                                    Timothy P. Cole, #464644
